                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                               Plaintiff,     )
                                              )
                v.                             ) Case No. 12-00363-13-CR-SJ-DGK
                                              )
CHRYSTAL GAIL HALL,                           )
                                              )
                               Defendant.     )


                             REPORT AND RECOMMENDATION
                              CONCERNING PLEA OF GUILTY

         The Defendant appeared before me pursuant to Fed.R.Crim.P. 11, Local Rule 72(j)(26),

and 28 U.S.C. ' 636 and entered a plea of guilty to Count(s) One and Two of the Superseding

Indictment.     I determined that the guilty plea is knowledgeable and voluntary and that the

offense charged is supported by an independent basis in fact containing each of the essential

elements of such offense. A record was made of the proceedings and a transcript is available. I

therefore recommend that the plea of guilty be accepted and that the Defendant be adjudged guilty

and have sentence imposed accordingly.

         Failure to file written objections to this Report and Recommendation within fourteen (14)

days from the date of its service shall bar an aggrieved party from attacking such Report and

Recommendation before the assigned United States District Judge. 28 U.S.C. ' 636(b)(1)(B).




                                                       /s/ John T. Maughmer
                                                      JOHN MAUGHMER
                                                      United States Magistrate Judge
Dated:        November 23, 2015




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